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1    BENJAMIN B. WAGNER
     United States Attorney
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     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2700
5
                IN THE UNITED STATES DISTRICT COURT FOR THE
6
                       EASTERN DISTRICT OF CALIFORNIA
7
8
     UNITED STATES OF AMERICA,        )
9                                     )    Mag. 2:13-mj-0288 EFB
               Plaintiff,             )
10                                    )   STIPULATION AND [PROPOSED]
                                      )   ORDER CONTINUING PRELIMINARY
11        v.                          )   HEARING
                                      )
12   MARCOS SOTO GONZALEZ,            )
        a/k/a Antonio Suazo Landa     )
13                                    )
               Defendant.             )
14                                    )
15
16        IT IS HEREBY STIPULATED BY AND BETWEEN Assistant United
17   States Attorney Michael D. McCoy, counsel for the plaintiff
18   United States of America, and defendant Marcos Soto Gonzalez, by
19   and through his counsel Assistant Federal Defender Benjamin
20   Galloway, that good cause exists to continue the preliminary
21   hearing currently set for October 1, 2013, at 2:00 p.m. to
22   October 9, 2013, pursuant to Federal Rule of Criminal Procedure
23   5.1(d).
24        On September 13, 2013, the defendant was charged by Criminal
25   Complaint with conspiracy to manufacture at least 1,000 marijuana
26   plants, in violation of 21 U.S.C. §§ 846 and 841(a)(1).          The
27   defendant was subsequently arrested and appeared in front of
28   Magistrate Judge Kendall J. Newman for his initial appearance on

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1    September 17, 2013.    At the initial appearance, Magistrate Judge
2    Newman set the preliminary hearing for October 1, 2013. The 30
3    day period for filing an information or indictment in this
4    matter, pursuant to 18 U.S.C. § 3161(b), runs on October 17,
5    2013.
6         The Government plans to provide the defendant with an
7    initial production of discovery tomorrow. Counsel for the
8    defendant, Benjamin Galloway, will need time to review the
9    discovery with the defendant and prepare for the preliminary
10   hearing. Because of this, good cause exists to extend the time
11   for the preliminary hearing within the meaning of Rule 5.1(d).
12        The government and the defendant agree that the combination
13   of pending discovery review and attorney preparation constitute
14   good cause to extend the time for preliminary hearing under
15   Federal Rule of Criminal Procedure 5.1(d), as well as under the
16   Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(B)(iv).         This exclusion
17   of time includes the period up to and including October 9, 2013.
18        Benjamin Galloway agrees to this request and has authorized
19   Assistant United States Attorney Michael D. McCoy to sign this
20   stipulation on his behalf.
21
22   DATED: September 30, 2013              By:   /s/ Michael D. McCoy
                                                  MICHAEL D. McCOY
23                                                Assistant U.S. Attorney
24
25   DATED: September 30, 2013                    /s/ Michael D. McCoy for
                                                  BENJAMIN GALLOWAY
26                                                Attorney for Defendant
                                                  Marcos Soto Gonzalez
27                                                Telephonically authorized
                                                  to sign for Mr. Roque on
28                                                September 30, 2013

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1    IT IS HEREBY ORDERED:
2         1.     The preliminary hearing set for October 1, 2013, is
3    continued to October 9, 2013, at 2:00 p.m.
4         2.     Based on the stipulations and representations of the
5    parties, the Court finds good cause to extend the time for the
6    preliminary hearing, and time is excluded up to and including
7    October 9, 2013. (18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4
8    (reasonable time to prepare)).
9         IT IS SO ORDERED.
10
11   Dated: September 30, 2013
12                                         _____________________________________
13                                         CAROLYN K. DELANEY
                                           UNITED STATES MAGISTRATE JUDGE
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